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                                                                                                    COURT
                                                                                                 VERMONT
                                                                                          FIL r:_ ·
                          IN THE UNITED STATES DISTRICT
                            COURT FOR THE DISTRICT OF                        2022 APRc�
                                    VERMONT                                                          SB

JANE DOE,                                                                      y�l�-
                             Plaintiff,
                                                      }     CIVILACTIONNO.             5:22-cv-85
                                                      }
                                                      }
                                                      }
                                                      }           VERIFIED
v.                                                    }   COMPLAINT FOR DECLARATORY
                                                            AND INJUNCTIVE RELIEF
VERMONT LAW SCHOOL,
SHIRLEY JEFFERSON,                                           JURY TRIAL DEMANDED
HEIDI REMICK,
JOSEPH BRENNAN,
BETH McCORMACK,
JESSICA DURKIS-STOKES,
MAUREEN MORIARTY,
ASHLEY ZIA,
CYNTHIA W LEWIS, STEPHANIE
WILBANKS and
DOES 1 THROUGH 25 INCLUSIVE,

                              Defendants.
              Plaintiff sues Defendants for violations of 42 U.S.C. § 1983, Title VI of the

 Civil Rights Act of 1964, 42 U.S.C. § 2000d et seq., by disparate treatment on the basis of

 race (black); Title III of the American with Disabilities Act of 1990 ("ADA");

 amended by the ADA Amendments Act of 2008 ("ADAAA"), disparate treatment on the

 basis of disabilities (attention deficit hyperactivity disorder (ADHD) and medical condition)

 in violation of 42 U.S.C. § 12101; Section 504 of the Rehabilitation Act of 1973, 29 U.S.C.

 Section 794, and its implementing regulation at 34 C.F.R. § 35. l 30(a) by denying the

 Plaintiff reasonable accommodations and retaliation for filing a complaint alleging that

 Defendants discriminated against Plaintiff on the basis of her disabilities, ADHD and medical
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         condition; Title IX of the Education Amendments of 1972 20 U.S.C § 1681 (a) by denying

         the Plaintiff the right to file a complaint with the Title IX coordinator on the basis of her

         gender (female) and sexual orientation (heterosexual); violations of the Family Educational

         Rights and Privacy Act (FERPA) by disclosing Plaintiff's student records to a third pmiy

         without Plaintiff's consent; violations of HIP AA by disclosing Plaintiffs medical records to a

         third-party without Plaintiff's consent and harassing Plaintiffs medical physician to release

         additional medical records without Plaintiff's consent; for violations of rights guaranteed by

         the First Amendment of the United States Constitution by retaliating against Plaintiff for

         engaging in protected expression and for violations of the Equal Protection Clause by

         enforcing a policy where Defendants failed to meet their standard of proof to demonstrate

         with "clear and convincing" evidence that Plaintiff knowingly violated Defendants Honor

         code that was applied to Plaintiff to impose an unconstitutional restraint; and for injunctive

         relief.



                                        PARTIES AND JURISDICTION

1.       Plaintiff is a disabled black heterosexual female 2L law student who is over the age of

         eighteen ( 18) and who is currently attending Vermont Law School and is close to completing

         her second year thereof. On information and belief and in view of the facts set forth herein,

         Defendants are engaging in intentional and unlawful conduct in an attempt to deny Plaintiff

         the opportunity to complete her legal education.

2.       Defendant, Vennont Law School (hereafter "VLS") is a private law school which is a

         recipient of federal funds. Plaintiff alleges that VLS, through it agents including Defendants



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    herein, is responsible for establishing the policies, conditions, and other practices that bear

    upon the Plaintiffs educational opportunities.

           3. Defendant, Shirley Jefferson ("Jefferson"), is and at all times material hereto was

    the Associate Dean for Student Affairs and Diversity at Vermont Law School. Jefferson

    ratified the Constitutional injuries herein alleged and violated Plaintiffs rights secured under

    the 5th and 14th Amendment to United States Constitution and acted in violation of 42 U.S.C.

    § 1983, Title VI of the Civil Rights Act of 1964, 42 U.S.C. § 2000d et seq.,

    Title III of the American with Disabilities Act of 1990 ("ADA"), as

    amended by the ADA Amendments Act of2008 ("ADAAA"), 42 U.S.C. § 12101, Title IX of

    the Education Amendments of 1972, 20 U.S.C § 1681 (a) and Section 504 of the

    Rehabilitation Act of 1973, 29 U.S.C. Section 794, and its implementing regulation at 34

    C.F.R. § 35. l 30(a), when Defendant Jefferson advised Plaintiff that she "can only protect the

    Blacks under her wings," and because Plaintiff was "not under her wings" she could not

    intervene, thus demonstrating disparate treatment of Plaintiff. Plaintiff also alleges that

    Defendant Jefferson informed her that disability was not recognized in the black community,

    and denied Plaintiff the ability to file a Title IX claim against Defendant Heidi Remick

    ("Remick") and wrongfully advising Plaintiff that she "may only file an complaint after an

    investigation is complete". Defendant Jefferson's actions were unde1iaken while Defendant

    Jefferson was an employee and agent of Defendant VLS, but such actions were not within the

    scope of Defendant Jefferson's employment as her actions were illegal and unlawful thus

    subjecting Defendant Jefferson to personal liability.

    4.       Defendant Heidi Remick ("Remick") is and at all times material hereto is an online

    Professor of Law at VLS who teaches narrative writing. Remick ratified the Constitutional



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    injuries herein alleged and violated Plaintiffs rights secured under the 5th and 14th Amendment

    to United States Constitution and acted in violation of 42 U.S.C. § 1983, Title VI of the Civil

    Rights Act of 1964, 42 U.S.C. § 2000d et seq., Title III of the American with Disabilities

    Act of 1990 ("ADA"), as amended by the ADA Amendments Act of 2008 ("AD AAA"), 42

    U.S.C. § 12101, Title IX of the Education Amendments of 1972, 20 U.S.C § 1681 (a) and

    Section 504 of the Rehabilitation Act of 1973, 29 U.S.C. Section 794, and its implementing

    regulation at 34 C.F .R. § 35.130(a), when Remick discriminated against her because Plaintiff

    was the only black female student in a class of 5 and who is disabled and heterosexual, when

    Defendant Remick graded the Plaintiff based on her race, disability, gender and sexual

    orientation harsher than white female students similarly situated. Defendant Remick asked

    Plaintiff if she was a member of the LGBTQ community after the Plaintiff submitted an OP-

    ED which Remick advised Plaintiff that she was "highly offended by the subject of your OP-

    ED" and after Plaintiff advised Defendant Remick that she, Plaintiff, was not a member of the

    subject community. In the next assignment after learning of Plaintiffs sexual orientation and

    based on Plaintiffs sexual orientation, Defendant Remick graded the Plaintiff harsher and

    reported the Plaintiff for alleged errors on an assignment to Dean of Students but refused to

    report similar errors made by white female students similarly situated in the same narrative

    writing course. Defendant Remick's actions were undertaken while Defendant Remick was an

    employee and agent of Defendant VLS, but such actions were not within the scope of

    Defendant Remick's employment as her actions were illegal and unlawful thus subjecting

    Defendant Remick to personal liability. On information and belief, Defendant Remick, together

    with Defendants McCormack and Brennan was the instigator of a conspiracy to cause Plaintiff

    harm and injury and to engender a situation intentionally designed to have Plaintiff either (a)


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    subjected to not being able to finish or graduate from VLS and/or (b) creating a situation

    intentionally designed to cause Plaintiff to withdraw from VLS. Fmiher on information and

    belief, Defendant Remick, as the instigator of the conspiracy, engaged the other Defendants to

    participate in her conspiracy to cause harm and damage to Plaintiff.

    5.     Defendant, Joseph Brennan, ("Brennan") is and was at all times material the Vice Dean

    of Students at Vermont Law School. Defendant Brennan ratified the Constitutional injuries

    herein alleged and violated Plaintiff's rights secured under the 5111 and 14111 Amendment to

    United States Constitution and acted in violation of 42 U.S.C. § 1983, Title VI of the Civil

    Rights Act of 1964, 42 U.S.C. § 2000d et seq., Title III of the American with Disabilities

    Act of 1990 ("ADA"), as amended by the ADA Amendments Act of 2008 ("AD AAA"), 42

    U.S.C. § 12101, Title IX of the Education Amendments of 1972, 20 U.S.C § 1681 (a) and

    Section 504 of the Rehabilitation Act of 1973, 29 U.S.C. Section 794, and its implementing

    regulation at 34 C.F.R. § 35.130(a), and FERPA, and HIPPA rights as Defendant Brennan

    treated Plaintiff differently because of her race (black) than white female students similarly

    situated, and by unlawfully sharing Plaintiff's personal medical information with a third party

    without Plaintiff's consent or permission, and engaged in the discrimination of Plaintiff based

    on Plaintiff's race (black) and disability when Brennan unregistered Plaintiff from classes

    because of her disability, denied Plaintiff reasonable accommodations, discriminated against

    Plaintiff based on her 504 plan, and retaliated against Plaintiff for filing a complaint against the

    defendants with the United States Department of Education. Defendant Brennan's actions were

    undertaken while Defendant Brennan was an employee and agent of Defendant VLS and in

    furtherance of the conspiracy instigated by Defendants Remick and McCormack, but such




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actions were not within the scope of Defendant Brennan's employment as his actions were

illegal and unlawful thus subjecting Defendant Brennan to personal liability.

    6. Defendant, Beth McCormack, ("McCormack") is and was at all times material hereto Dean

    and President of Defendant VLS. Defendant McCormack ratified the Constitutional injuries

    herein alleged and violated Plaintiff's rights secured under the 5th and 14th Amendment to

    United States Constitution and acted in violation of 42 U.S.C. § 1983, Title VI of the Civil

    Rights Act of 1964, 42 U.S.C. § 2000d et seq., Title III of the American with Disabilities

    Act of 1990 ("ADA"), as amended by the ADA Amendments Act of2008 ("ADAAA"), 42

    U.S.C. § 12101, Title IX of the Education Amendments of 1972, 20 U.S.C § 1681 (a) and

    Section 504 of the Rehabilitation Act of 1973, 29 U.S.C. Section 794, and its implementing

    regulation at 34 C.F.R. § 35.130(a), and FERPA, and HIPPA rights when Defendant

    McCormack accused the Plaintiff of wrongdoing for submitting her exam late based on her

    race and disability. Plaintiff alleges that Defendant McCormack discriminated against Plaintiff

    based on her 504 plan and retaliated against Plaintiff for filing a complaint against the

    defendants with the United States Department of Education. Plaintiff also alleges that

    Defendant McCormack knew or should have known that she established terms, conditions,

    practices and policies that bear upon educational opportunities of Plaintiff's race (black) and

    disability. Defendant McCormack knew of should have known that the Plaintiff was subjected

    to harassment, discrimination based on her race (black), disability, gender (female) and sexual

    orientation (heterosexual) and retaliation by Defendants Brennan, Jefferson, Remick, Stokes,

    and Moriarty when they denied Plaintiff her notice and right to due process, subjected Plaintiff

    to harsh grading, un-registration from on-campus classes, and permitted the Plaintiff to be

    treated differently than white students and non-disabled students because of Plaintiff's race


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    (black) and differently than white female students similarly situated and disability, and denied

    Plaintiff reasonable accommodations. Defendant McCormack' s actions were unde11aken while

    Defendant McCormack was an employee and agent of Defendant VLS and in furtherance of

    the conspiracy instigated by herself and Defendant Remick, but such unlawful actions were not

    within the scope of Defendant McCormack's employment as her actions were illegal and

    unlawful thus subjecting Defendant McCormack to personal liability.

           7.     Defendant, Jessica Durkis-Stokes (Stokes) is and was, at all times material

    hereto, the Investigator and Interim Director, Academic Success Program, at Vermont Law

    school. Defendant Stokes ratified the Constitutional injuries herein alleged and violated

    Plaintiffs Rights that are secured ratified the Constitutional injuries herein alleged and

    violated Plaintiffs rights secured under the 5th and 14th Amendment to United States

    Constitution and acted in violation of 42 U.S.C. § 1983, Title VI of the Civil Rights Act of

    1964, 42 U.S.C. § 2000d et seq., Title III of the American with Disabilities Act of 1990

    ("ADA"), as amended by the ADA Amendments Act of 2008 ("AD AAA"), 42 U.S.C. §

    12101, Title IX of the Education Amendments of 1972, 20 U .S.C § 1681 (a) and Section

    504 of the Rehabilitation Act of 1973, 29 U.S.C. Section 794, and its implementing

    regulation at 34 C.F.R. § 35.130(a) when Stokes failed to provide notice of exhibits during

    the investigation based on Plaintiffs race and sexual orientation. Plaintiff further alleges that

    Stokes discriminated against Plaintiff based on her disability when she wrote in her

    investigators report that Plaintiffs 504 plan did not apply. Defendant Stokes' actions were

    undertaken while Defendant Stokes was an employee and agent of Defendant VLS and in

    furtherance of the conspiracy instigated by Defendants McCormack, Brennan and Remick,




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    but such actions were not within the scope of Defendant Stokes's employment as her actions

    were illegal and unlawful thus subjecting Defendant Stokes to personal liability.

           8. Defendant Maureen Moriarty ("Moriarty") is and was at all times material hereto

    the Registrar and Director of Academic Procedures at Vermont Law school. Defendant

    Moriarty ratified the Constitutional injuries herein alleged; and violated Plaintiff's Rights that

    are secured ratified the Constitutional injuries herein alleged and violated Plaintiff's rights

    secured under the 5th and 14th Amendment to United States Constitution and acted in

    violation of 42 U.S.C. § 1983, Title VI of the Civil Rights Act of 1964, 42 U.S.C. § 2000d et

    seq., Title III of the American with Disabilities Act of 1990 ("ADA"), as

    amended by the ADA Amendments Act of2008 ("ADAAA"), 42 U.S.C. § 12101, Title IX of

    the Education Amendments of 1972, 20 U.S.C § 1681 (a) and Section 504 of the

    Rehabilitation Act of 1973, 29 U.S.C. Section 794, and its implementing regulation at 34

    C.F.R. § 35.130(a) when she unregistered Plaintiff from on-campus classes because of

    Plaintiffs disability, race and gender. Defendant Moriarty's actions were undertaken while

    Defendant Moriarty was an employee and agent of Defendant VLS and in furtherance of the

    conspiracy instigated by Defendants McCormack and Remick, but such actions were not

    within the scope of Defendant Moriarty's employment as her actions were illegal and

    unlawful thus subjecting Defendant Moriaiiy to personal liability.

    9.    Defendant, Ashley Zia ("Zia") is and was at all times material the Director of Student

    Affairs and Covid 19 coordinator at Vermont Law School. Defendant Zia ratified the

    Constitutional injuries herein alleged and violated Plaintiff's Rights that are secured ratified the

    Constitutional injuries herein alleged; and violated Plaintiff's rights secured under the 5th and

    14 th Amendment to United States Constitution and acted in violation of 42 U .S.C. § 1983, Title
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    VI    of   the    Civil   Rights    Act       of   1964,     42   U.S.C.   §    2000d      et   seq.,

    Title III of the American with Disabilities         Act of         1990         ("ADA"),          as

    amended by the ADA Amendments Act of2008 ("ADAAA"), 42 U.S.C. § 12101, Title IX of

    the Education Amendments of 1972, 20 U.S.C § 1681 (a) and                      Section 504 of the

    Rehabilitation Act of 1973, 29 U.S.C. Section 794, and its implementing regulation at 34

    C.F.R. § 35.130(a) when she discriminated against Plaintiff on the basis of her race (black) and

    disability and unregistered her from on-campus classes because of Plaintiffs race and disability,

    and denied Plaintiff reasonable accommodations. Defendant Zia's actions were undertaken

    while Defendant Zia was an employee and agent of Defendant VLS and in furtherance of the

    conspiracy instigated by Defendants McCormack, Brennan and Remick, but such actions were

    not within the scope of Defendant Zia' s employment as her actions were illegal and unlawful

    thus subjecting Defendant Zia to personal liability.

    10.   Defendant, Cynthia W. Lewis ("Lewis") is the Vice Dean for Faculty and Professor of

    Law, at Vermont Law school who ratified the Constitutional injuries herein alleged and

    violated Plaintiffs rights secured under the 5th           and 14th Amendment to United States

    Constitution and acted in violation of 42 U .S.C. § 1983, Title VI of the Civil Rights Act of

    1964, 42 U.S.C. § 2000d et seq., Title III of the American with Disabilities Act of 1990

    ("ADA"), as amended by the ADA Amendments Act of 2008 ("ADAAA"), 42 U.S.C. §

    12101, Title IX of the Education Amendments of 1972, 20 U.S.C § 1681 (a) and Section

    504 of the Rehabilitation Act of 1973, 29 U.S.C. Section 794, and its implementing

    regulation at 34 C.F.R. § 35.130(a), and FERPA, and HIPPA rights when McCormack

    accused the Plaintiff of wrongdoing for submitting her exam late based on her race and

    disability. Plaintiff alleges that Lewis discriminated against Plaintiff based on her 504 plan



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when Lewis concluded that Defendants McCormack and Willbanks did not discriminate

 against Plaintiff on the basis of race and disability, denied Plaintiff a copy of the investigators

 report on the based on Plaintiffs race and disability ,and retaliated against Plaintiff for filing a

 complaint against the defendants with the United States Department of Education. Plaintiff

 also alleges that Defendant Lewis knew or should have known that she established terms,

 conditions, practices and policies that bear upon educational opportunities of Plaintiffs race

 (black) and disability, and that Defendant Lewis knew of should have known that the Plaintiff

 was subjected to harassment, discrimination based on her race (black), disability, gender

 (female) and sexual orientation (heterosexual) and retaliation by Defendants Brennan,

 Jefferson, Remick, Stokes, and Moriarty when they denied her notice, right to due process,

 subjected Plaintiff to harsh grading, un-registration from on-campus classes, and permitted

 the Plaintiff to be treated differently than white students and non-disabled students because of

 Plaintiffs race (black) ,and denied Plaintiff reasonable accommodations. Defendant Lewis'

 actions were undertaken while Defendant Lewis was an employee and agent of Defendant

 VLS and in furtherance of the conspiracy instigated by Defendants McCormack, Brennan,

 Jefferson and Remick, but such actions were not within the scope of Defendant Lewis'

 employment as her actions were illegal and unlawful thus subjecting Defendant Lewis to

 personal liability.

 11. Defendant, Stephanie Willbanks ("Willbanks") is and was at all times material hereto a

 Professor of Law at Vermont Law school who ratified the Constitutional injuries herein

 alleged and violated Plaintiff's rights secured under the 5th and 14th Amendment to United

 States Constitution and acted in violation of 42 U.S.C. § 1983, Title VI of the Civil Rights

 Act of 1964, 42 U.S.C. § 2000d et seq., Title III of the American with Disabilities Act of


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 1990 ("ADA"), as amended by the ADA Amendments Act of 2008 ("AD AAA"), 42 U.S.C. §

 12101, and Section 504 of the Rehabilitation Act of 1973, 29 U.S.C. Section 794, and its

 implementing regulation at 34 C.F.R. § 35.130(a) when Defendant Willbanks harshly graded

 the Plaintiffs final exam based on her race (black) and her disability and in a manner different

 from her grading of white students similarly situated. Defendant Willbanks' actions were

 undertaken while Defendant Willbanks was an employee and agent of Defendant VLS and in

 furtherance of the conspiracy instigated by Defendants McCormack and Jefferson, but such

 actions were not within the scope of Defendant Willbanks' employment as her actions were

 illegal and unlawful thus subjecting Defendant Willbanks to personal liability.



                                JURISDICTION AND VENUE

12.   Jurisdiction of this action is proper in this Comi as the claims herein are brought for

violations of Federal law and thus jurisdiction is proper pursuant to 28 U .S.C. sec. 1331.

13. Plaintiffs pendent state law claims are proper under supplemental jurisdiction pursuant to 28

U.S.C. sec. 1367.

14. Venue is proper in this Court as the conduct alleged herein took place within the territorial

jurisdiction of this Court.



                      MATERIAL FACTS COMMON TO ALL COUNTS

15. On or about June 2020, Plaintiff was admitted into the three-year juris doctorate program at

VLS law student.

16. On or about November 2020, Plaintiff notified Defendants VLS, McCormack, Jefferson,

Brennan, Zia, and Moriarty of Plaintiffs disability and need for reasonable accommodations.



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17. On or about December 1, 2020, Defendants VLS and McCormack stated that Plaintiff's

ADHD should not affect her in other areas outside of timed tests and quizzes. Plaintiff objected

to Defendants VLS and McCormack' s assertion. Defendants VLS and McCormack only agreed

to grant Plaintiff reasonable accommodations of double-time for testing and timed quizzes.

18. On or about December 9, 2020, Plaintiff submitted her final exam for Defendant Willbanks'

T01is course to Defendants Moriarty, McCormack, and Wilbanks at which time said Defendants

informed Plaintiff that she was required to sign an honor code statement.

19. On or about December 17, 2020, Defendant McCormack held a video conference with the

Plaintiff where Defendant McCormack advised the Plaintiff that she would be penalized for late

submission because the Plaintiff received testing accommodations. Plaintiff objected to the

penalty.

20. On or about January 8, 2021 Plaintiff appealed the 14 point penalty assessed against her due

to the late submission of her exam. Plaintiff asserted that Defendants treated her differently on

the basis or her race (black) when they penalized the Plaintiff for late (3 3 minutes) submission of

her T01is exam and the Defendant's did not penalize a white student for late (4 hours)

submission of their Tort exam. Plaintiff also asserted that Defendants treated her differently on

the basis of her disability (ADHD) because Plaintiff received accommodations for double time

than students who received accommodations for 50% time.

21. On or about January 12, 2021, Defendants denied Plaintiff's ability to attend a hearing

during her appeal for grade change. Defendants cited that students were not allowed in hearings

on their appeal.




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22. On or about January 15, 2021, Plaintiff requested a reconsideration of appeal and permission

to attend the hearing. Defendants denied Plaintiff the right to appear in the hearing. Defendants

denied the appeal.

23. On or about February 3, 2021, Plaintiff submitted a Second request for reconsideration, after

Defendant Jefferson advised that if Plaintiff withdrew her Title VI complaint against Defendants

and requested a 5-7 point penalty, she would speak to the Committee on Standards (COS) to

change Plaintiff's grade. Defendants again denied Plaintiff the right to appear for the hearing on

her request for reconsideration.

24. On or about February 4, 2021, Defendants changed Plaintiffs grade from a C to a C+.

25.   On or about February 10, 2021, Defendant Jefferson tried to discourage Plaintiff from

moving forward with filing a Title VI complaint against defendants, allegedly citing that it would

not be good for the Plaintiff.

26. On or about March 17, 2021, Defendants appointed Nell Coogan to investigate Plaintiffs

claims on violation of Title VI.

27. On or about May, 20, 2021, Plaintiff participated in an interview with Nell Coogan. Plaintiff

believed that Coogan was not an "independent" investigator.

28. On or about June 17, 2021, Defendant Jefferson notified Plaintiff that the investigation into

her Title VI claims were completed but would not provide Plaintiff with a copy of the

investigation report.

29. On or about June 20, 2021 Plaintiff filed a complaint against Defendants with the U.S.

Department of education alleging discrimination on the basis on race and disability.

30.   On or about October 2021, Plaintiff began her online Narrative course with Defendant

Remick.



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31. On or about November 12, 2021, Plaintiff submitted an OP-ED assignment worth 100 points

to Defendant Remick.

32. On or about November 16, 2021, Defendant Remick graded Plaintiff's OP-ED 82/100 citing

that the Plaintiff generalized in her OP-ED and had some grammar issues.

33. On or about November 20, 2021, Plaintiff expressed concern about the grade received and

that she feared that she was being single-out or targeted.

34.   On or about November 21, 2021, during a video meeting, Plaintiff advised Defendant

Remick that although the grammar issues were minor, it was due to Plaintiff's ADHD because

she suffered from inattention, poor memory, unable to spot errors at times which affected

Plaintiff's writing, and that Plaintiff could not understand why she received such grade based on

minor grammar. Defendant Remick replied that Plaintiff's disability was not a sufficient excuse.

Plaintiff also raised concern that Defendant Remick was targeting her because of race as the only

black female in the course, citing her comment on the Op-ED when Defendant Remick wrote,

"just as there is homophobia in the Black community." Defendant Remick stated that she was

offended by "the subject nature" of Plaintiffs Op-ED. Plaintiff repeatedly apologized for

offending Defendant Remick and asserted her First Amendment rights. Defendant Remick then

asked the Plaintiff if she were a member of the LGBTQ community because the Defendant was a

member of the community. Plaintiff replied that she was not a member and raised concerns about

whether her sexual orientation was an issue. Defendant Remick allegedly replied that she wanted

the Plaintiff to understand why she received a grade of 82. Plaintiff and Remick then discussed

the next 100-point assignment which was a memorandum or letter that was due the following

week.

35. On or about November 26, 2021, Plaintiff timely submitted her memorandum assignment.


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36. On or about December 10, 2021, Plaintiff noticed that the Defendant Remick had graded the

Plaintiff's assignment 25/100 stating that Plaintiff "crossed the line from merely sloppy

attribution to outright plagiarism," because the Plaintiff who although provided citations did not

"provide quotations of borrowed language." Plaintiff immediately objected to Defendant

Remicks allegations.

37. On or about December 14, 2021, Plaintiff contacted Defendant Jefferson about the

allegations of plagiarism by Defendant Remick and that the Plaintiff believed that her allegations

were motivated by race as the only black student with a disability who was heterosexual because

other white students who did not provide quotations and had similar errors were not accused of

plagiarism. Defendant Jefferson replied to Plaintiff "see, I told you not to file the last complaint,

you made yourself a target. This is why I gotta protect the black students that stick with me

because they do as I say. No one can touch my black students and they know not to mess with

them. I can only protect the Black students under my wings from bs accusations like that" and

because Plaintiff was "not under [her] wings" that she, Defendant Jefferson, could not intervene.

Plaintiff also alleges that Defendant Jefferson informed her that the ADHD disability was "not

really recognized in the black community" and told Plaintiff that she may only file a Title IX

complaint after an investigation into plagiarism claim is complete.

38. On or about December 16, 2021, Plaintiff received a letter from the Defendant Brennan

informing Plaintiff of a complaint filed by Defendant Remick against Plaintiff as to allegations

of plagiarism.

39. On or about December 17, 2021, Plaintiff submitted a request to Defendant McCormack for

an alternate dean to oversee the investigation due experience of bias, unfairness, and hostility by




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Defendant Brennen. Defendant McCormack declined to appoint a different paiiy to handle the

investigation.

40. On or about December 17, 2021, Plaintiff received an email from the Defendant Stokes as

the investigator assigned to investigate Defendant Remick's claim.

41.    On or about January 18, 2022, Plaintiff requested medical exemption from Co VID-19

vaccine and reasonable accommodations to participate in virtual classes which were permitted

for other non-disabled students.

42. On or about January 18, 2022 Defendants, VLS, McCormak, Brennan, Jefferson, Moriaty,

and Zia unregistered the Plaintiff from on-campus classes on the basis of her disability and

advised Plaintiff to take medical leave or take online elective courses that Plaintiff did not need

because of her disability.

43. On or about January 18, 2022 VLS' s Constitutional Law Professor and the Property Law

Professor permitted the Plaintiff to participate in classes remotely due to her disability. However,

Defendants denied Plaintiff to attend classes remotely threatening her with violation of the

Honor code of conduct if she continued to attend classes remotely.

44. On or about January 28, 2022 the American Bar Association confirmed that VLS received a

waiver to allow students effected by Covid -19 to attend classes remotely.

45. On or about February 11, 2022 Defendant Stokes interviewed Plaintiff. The meeting lasted

about less than 10 minutes.

46.    On or about February 16, 2022, OCR of DOE notified Defendants of openmg an

investigation into allegations discrimination based on race and disability. Complaint No. 01-22-

2005




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47.   On or about February 28, Defendants concluded in their investigation that the Plaintiff

plagiarized.

48. On or about March 8, 2022 Defendants denied Plaintiff medical exemption and request for

reasonable accommodations, citing a letter received by an unknown third party, James Bath,

MD, who is not the Plaintiffs physician. Plaintiff did not consent to any release of her medical

records or student records to a third party.

49.   Defendant VLS, through and with the aid of Defendants Brennan and Zia, have now

convened an "Honor Code hearing" where the Plaintiff has been denied the right to present and

call witnesses (including Defendant Brennan), and has been denied the right to present

documentary evidence.

50. Defendant Brennan participated in the decision to deny Plaintiff the right to present and call

witnesses and introduce documentary evidence at the hearing, which has been scheduled for

Wednesday, April 20, 2022.

51. Defendant Brennan has refused Plaintiff's reasonable request to schedule the hearing for

another date.

52.   On February 16, 2022, the United States Department of Education issued a letter of

notification (copy attached hereto) that the DOE has opened a formal investigation as to whether

Defendant VLS subjected Plaintiff to different treatment on the basis of race when it penalized

her for her torts exam late but did not similarly penalize a white student, in violation of 34 C.F.R.

sec. 100.3(a) and (b), and whether Defendant VLS subjected Plaintiff to different treatment on

the basis of disability by refusing to restore points lost due to the late submission because she

was afforded extra time as a disability-based accommodation, in violation of 34 C.F.R. sec.

104.4 and 28 C.F.R. sec. 35.130(a).



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53. On information and belief and in view of the facts set forth above and in furtherance of the

conspiracy instigated by Defendants McCormack, Brennan, Jefferson, Lewis and Remick, the

outcome of the "hearing" is predetermined against Plaintiff, who is being denied due process and

is the victim of race discrimination, disability discrimination, sex discrimination and disparate

treatment.

                                            COUNT I:

Race Discrimination in Violation of Civil Rights Act of 1964 (Title VI) 42 U.S.C. § 2000d et
                 seq., its implementing regulation at 34 C.F.R. Part 100

54. Plaintiff reaffirms and realleges paragraphs 1 through 53 above as if set forth more fully

hereinbelow.

55. Defendant VLS is a private law school which receives federal assistance and is thus legally

obligated to provide equal treatment to all students regardless of race and disability.

56.   As set forth above, Defendants discriminated against Plaintiff on the basis of her race

(Black) when Defendants treated her differently in grading and disciplinary practices, and

subjecting Plaintiff to disparate treatment different than white students who engaged in similar

conduct as that of which Plaintiff was accused.

57. Plaintiff's race was a primary motivating factor in Defendants' decision to exclude and deny

equal opportunities to Plaintiff, even if there are legitimate non-discriminatory reasons that also

motivated these actions.

58. As a direct and proximate result of the Defendants' actions, Plaintiff has suffered damages

including emotional distress, inconvenience, anxiety, humiliation, and other indignities.



                                            COUNT II:

                            Violation of Title IX 20 U.S.C § 1681 (a)
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59. Plaintiff reaffirms and realleges paragraphs 1 through 53 above as if set fmih more fully

hereinbelow.

60. Plaintiff is a heterosexual female.

61. Defendants VLS, McCormack and Remick failed to provide equal treatment and benefits to

Plaintiff with equivalent opportunities for participation in tutoring or guidance, and in retaliation

against Plaintiff on the basis of her gender (female) and sexual orientation (heterosexual) when

Defendant Remick provided guidance on assignments to homosexual students.

62. Defendant Remick discriminated against Plaintiff in the grading and disciplining of Plaintiff.

63. Plaintiffs sexual orientation was a motivating factor in Defendant Remick's decision to

adversely grade and harshly discipline Plaintiff, even if there are legitimate non-discriminatory

reasons that also motivated these actions.

64. As a direct and proximate result of the Defendants' actions, Plaintiff has suffered damages

including emotional distress, inconvenience, anxiety, humiliation, and other indignities.



                                             COUNT III:

Violations of Title III of the American with Disabilities Act of 1990 (ADA) 28 CFR Part 36

                                                and

  Section 504 of the Rehabilitation Act of 1973 (Section 504), 29 U.S.C Section 794, and its

           implementing regulation at 34 C.F.R. § 104.4 and 28 C.F.R. § 35.130(a).



65. Plaintiff reaffirms and realleges paragraphs I through 53 above as if set forth more fully

hereinbelow.




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66. Plaintiff is an individual with a disability as defined in 42 U .S.C. § 12102 and Section 504. At

all relevant times, Plaintiff has suffered from, ADHD which causes functional impairment and

has suffered from medical condition which causes chronic inflammation in the small intestines.

Defendants have engaged in unlawful practices in violation of Title III of the ADA, as amended,

and Section 504. Specifically, the Defendants discriminated against Plaintiff by failing or

refusing to provide her with a reasonable accommodation on the basis of her disability ADHD,

and un-registering her from classes based on of her medical condition and disability, in violation

of34 C.F.R. § 104.4 and 28 C.F.R. § 35.130(a).

67.   Defendants    discriminated against Plaintiff   based    on   her   disability,   ADHD, when

Defendants subjected Plaintiff to treatments of adverse grading and harsh discipline in Wilbanks'

Torts course after Plaintiff was forced to sign an honor code statement to complete the

submission of her Torts exam that Plaintiff submitted exam 33 (thirty-three) minutes late, and

was assessed a 14-point deduction in her grade, when a white student, K. Fredrick ("Ms.

Fredrick"), similarly situated, was not subjected to adverse grading or harsh discipline after

she submitted her exam 4 (four) hours late and received zero penalty and was not required to

sign an honor code statement to complete her exam.

68. Defendants also subjected Plaintiff to treatments of adverse grading and harsh discipline

based on her disability, ADHD, in Defendant Remick's Narrative writing course after Plaintiff

submitted her memorandum assignment on restorative justice provided citations in footnotes, but

made errors in forgetting to add quotation marks, received a 25/100 and Defendant Remick

accused Plaintiff or plagiarism, when E. Frank ("Ms. Frank") a student without disabilities who

made similar errors was not subjected to adverse grading and harsh discipline when she received

91/100 was not accused of plagiarism in Remick' s Narrative Writing course.


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69.   Defendants   un-registered   Plaintiff from    classes   and   denied   Plaintiff reasonable

accommodation based on her medical condition and disability, after Plaintiffs medical physician

advised that Plaintiff could not travel to test on campus and recommended remote classes to limit

the exposure to Co VID-19 which could result in severe illness, including her demise. Defendants

permitted non-disabled students to take classes remotely. Non-disabled students were not un-

registered from classes.

70.   Defendants' conduct demonstrates a planned and well-orchestrated scheme to deprive

Plaintiff of equal treatment and equal protection.

71. As a direct and proximate result of the Defendant's actions, Plaintiff has suffered damages

including emotional distress, inconvenience, anxiety, humiliation, and other indignities.

                                           COUNT IV:

               Negligent Supervision (against Defendants VLS and McCormack)

72. Plaintiff reaffirms and realleges paragraphs 1 through 53 above as if set forth more fully

hereinbelow.

73. At all times material, Defendant VLS has a duty to properly supervise its employees and

agents including all of the individual Defendants above.

74. Defendants VLS and McCormack are liable for their negligent supervision of Defendants

Jefferson, Remick, Brennan, Zia, Stokes, Moriarty, and Willbanks by negligently and/or

recklessly giving improper orders and in failing to make proper regulations, by the employment

of improper instrumentalities involving the risk of harm to others, and by permitting and failing

to prevent negligent and tortious conduct of the individual Defendants with instrumentalities

under their control.




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75. As a direct and proximate result of the negligent supervision actions of Defendants VLS and

McCormack as set fotih above, Plaintiff has suffered damages.

                                    RELIEF REQUESTED

       Plaintiff requests the entry of Final Judgment in her favor as to all Counts of this Verified

Complaint for damages to be proven at trial, interest on liquidated sums, costs and attorneys'

fees as provided and permitted by law, and for any other relief which is just and proper including

the entry of a Temporary Restraining Order cancelling and enjoining the April 20, 2022 "Honor

Code Hearing" which request is made by separate Motion.

                                DEMAND FOR JURY TRIAL

       Plaintiff demands trial by jury of all matters so triable as a matter of right and pursuant to

law.




                                        VERIFICATION


                                                                     Jeannie Romain
DISTRICT OF COLUMBIA

       BEFORE ME, THE UNDERSIGNED AUTHORITY, personally appeared Jeannie

Romain     who    ts   either   (personally    known      to   me)    or    (who    has    produced

_ _ _ _ _ _ _ _ _ [type of identification, e.g. driver's license]) who executed the foregoing

Verified Complaint in her own hand and swears, under the penalty of petjury, that the factual

allegations in the Verified Complaint are true and correct to the best of her knowledge and belief.




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                                                                       Notary Public, District of
Columbia
      My commission expires:




                               Dated this 18 111 day of April, 2022.




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                                    Respectfully submitted,



                                    Albert Fox, Esq.
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                                    PO Box 6172-11 Main St.
                                    Brattleboro, VT 05302
                                    #651797




Dated: April 19, 2022
